Case 1:93-cr-00401-DLG Document 305 Entered on FLSD Docket 09/09/2020 Page 1 of 16




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO. 93-CR-401-GRAHAM

   UNITED STATES OF AMERICA,                         )
                                                     )
   v.                                                )
                                                     )
   ATILANO DOMINGUEZ,                                )
                                                     )
          Defendant.                                 )
                                                     )

           Government’s Response to Defendant’s Second Motion to Reduce Sentence
             Pursuant to 18 U.S.C. § 3582(c)(1)(A)(i), and Specifically COVID-19


          Defendant ATILANO DOMINGUEZ has filed a motion asking this Court to reduce his

   sentence of imprisonment under 18 U.S.C. § 3582(c)(1)(A) and order his immediate release,

   relying on the threat posed by the COVID-19 pandemic. This is not the Defendant’s first request

   for a sentence reduction nor for compassionate release – with the Court having most recently

   denied his request for compassionate release on June 9, 2020 [DE 294], though this is the first

   time he notes COVID-19 as the specific reason for his request. The United States respectfully

   opposes the motion, as the government agrees with the U.S. Bureau of Prison’s (“BOP’s”)

   assessment that the Defendant can be cared for – and that he can presently take care of himself –

   while in custody. The Defendant’s medical condition has not changed since the Court’s order

   three months ago denying compassionate release. The only change in circumstances is the

   existence of COVID-19 in the BOP system. The government does not contest that the

   Defendant’s age and medical condition render him vulnerable to serious consequences if he were

   to contract the illness. However, the Defendant’s sentence of life imprisonment always

   contemplated that the Defendant could perish in prison. The existence of one more way to perish

   in prison, specifically COVID-19 in addition to heart disease, cancer, stroke, aneurisms and

   myriad other ailments that afflict the aged, does not alter the appropriateness of the Defendant’s
Case 1:93-cr-00401-DLG Document 305 Entered on FLSD Docket 09/09/2020 Page 2 of 16




   incarceration. It does not provide an “extraordinary and compelling reason” to release the

   Defendant. Additionally, the government submits that the factors under Section 3553 counsel

   against the Defendant’s release. Therefore, the government respectfully submits that this Court

   should deny the motion with prejudice because Defendant has not met his burden of establishing

   that a sentence reduction is warranted under the statute.

                Factual Background and Summary of the Government’s Argument
          On December 10, 1993, Defendant ATILANO DOMINGUEZ, was found guilty by a jury

   trial as both charges of a two-count indictment, charging him with distribution of marijuana, in
   violation of 21 U.S.C. § 841(a)(1) (Count 2), and conspiring to do the same, in violation of 21

   U.S.C. § 846 (Count 1) [DE 86]. On November 9, 1993, the United States Attorney’s Office

   filed a Notice of Enhancement, pursuant to Title 21, United States Code, Section 851 [DE 61]. A

   Pre-Sentence Report (“PSI”) was prepared in anticipation of sentencing. At sentencing, the

   Defendant’s total offense level was calculated to be a level 37. The Defendant was classified as

   a career offender and given a criminal history category of VI based on three previous convictions

   for cocaine trafficking. On February 28, 1994, the Defendant was sentenced to life

   imprisonment [DE 120].

          Thereafter the Defendant appealed his conviction [DE 125], which appeal was denied

   [DE 144], and on February 25, 1997, filed his first habeas petition pursuant to T. 18, U.S.C., §

   2255 [DE 153]. The petition was supplemented on May 14, 1997 [DE 167]. The petition,

   including the supplemental grounds, was denied on May 26, 1998 [DE 180]. In June 1998, the

   Defendant filed a motion to reconsider the denial of his petition and that too was denied [DE

   181, 185]. On January 10, 2001, the Defendant filed another motion to reduce his sentence [DE

   210] and that too was denied [DE 212]. On December 14, 2010, the Defendant filed a motion

   asking for a reduction pursuant to T. 18, U.S.C., § 3582 [DE 252], and later filed a motion to

   withdraw his guilty plea (though he was convicted at trial and not by plea) [DE255]. Both of

   those motions were also denied [DE 263]. On March 28, 2019, the Defendant filed a motion to




   Gov’t Resp. to Def. Mot. to Reduce Sentence                                                        2
Case 1:93-cr-00401-DLG Document 305 Entered on FLSD Docket 09/09/2020 Page 3 of 16




   reduce his sentence pursuant to Amendment 782, captioned as a motion again under T. 18,

   U.S.C., § 3582 [DE 283], and discussing a variety of purported grounds for exercising leniency.

   That motion was denied on November 20, 2019 [DE 289].

          In December 2019, the Defendant filed a motion to reconsider the Court’s determination,

   arguing that the Court failed to conduct an analysis under the standard for compassionate release

   [DE 290]. The Court denied this motion on June 9, 2020, noting that the November 2019 order

   did in fact conduct an analysis under the compassionate release standard and found that the

   Defendant did not present “extraordinary and compelling circumstances” to satisfy the standard
   for release [DE 294].

          Dominguez then filed the present motion for compassionate release [DE 300], which is

   his second request under the same standard previously considered by the Court (or third if the

   motion to reconsider is counted) but the first citing COVID-19 as the basis for his request.

   Nothing has materially changed since the Court denied the Defendant’s last motion for

   compassionate release three months ago. The Defendant is 3 months older but thankfully his

   health has not substantially deteriorated since his last motion. This is not to argue that he does

   not have serious ailments, but they are ailments not unusual for an 80 year old male and he is still

   incarcerated in a federal penitentiary with an adjacent low security camp, not a medical facility. 1

          The Defendant’s current motion under 18 U.S.C. § 3582(c)(1)(A) again seeks a sentence

   reduction resulting in his immediate release from the custody of the BOP, relying on the threat

   posed by the COVID-19 pandemic. The government acknowledges that the pandemic presents a

   new challenge for BOP to safeguard inmates’ health, as it does for everyone, and that the

   Defendant’s medical conditions place him at a high risk of succumbing to the virus if he were to

   1
     The Defendant is incarcerated Lewisburg U.S.P, which is comprised of a high security building
   housing approximately 1,000 inmates and an adjacent low security camp housing approximately
   250 inmates. The inmates and staff at the high security building and low security camp are kept
   separate to prevent potential COVID-19 transmission. The BOP website, as of September 9,
   2020, reports that none of the inmates in the two facilities have been diagnosed with COVID-19
   infections. While 8 staff have been diagnosed with COVID-19 infections, they are not at work
   and are in quarantine.


   Gov’t Resp. to Def. Mot. to Reduce Sentence                                                          3
Case 1:93-cr-00401-DLG Document 305 Entered on FLSD Docket 09/09/2020 Page 4 of 16




   catch it. However, the Defendant’s lengthy prison sentence – for life – always envisioned the

   possibility that the Defendant could perish in prison. The existence of one additional way to

   perish does not alter the evaluation of the appropriateness of the Defendant’s sentence, which he

   received based on evidence from a trial, and a lengthy list of prior narcotics trafficking

   convictions. Unlike compassionate release motions that argue that a defendant should be

   released because the shorter sentence was never intended to put a defendant at risk of passing in

   prison, there is no injustice in the present case if the Defendant were to perish in prison. The

   sentence of life imprisonment expressly contemplated the possibility of the Defendant’s demise
   while incarcerated.

          Furthermore, the government has no reason to disagree with BOP’s assessment that the

   Defendant is fully functional in his present environment, can be cared for in prison and supports

   BOP’s decision not to release the Defendant. The government also submits that, given that the

   Defendant does not show remorse for his claimed “harmless crime” [DE 302-2 at 2] other than

   regretting that it resulted in his incarceration nor acknowledge the seriousness of the history of

   narcotics trafficking crimes he has committed, it cannot be concluded that the Defendant presents

   no risk of recidivism or danger to the community if he were released. Finally, with the current

   state of infections in the U.S., the Defendant is no safer outside of BOP custody than within BOP

   in a facility that has no inmates with COVID-19 infections.

          For all these reasons, the government submits that the Court should conclude that

   compassionate release is not warranted here.

   I.     BOP’s Response to the COVID-19 Pandemic
          As this Court is well aware, COVID-19 is an extremely dangerous illness that has caused

   many deaths in the United States in a short period of time and that has resulted in massive

   disruption to our society and economy. In response to the pandemic, BOP has taken significant

   measures to protect the health of the inmates in its charge.




   Gov’t Resp. to Def. Mot. to Reduce Sentence                                                          4
Case 1:93-cr-00401-DLG Document 305 Entered on FLSD Docket 09/09/2020 Page 5 of 16




           BOP has explained that “maintaining safety and security of [BOP] institutions is [BOP’s]

   highest priority.” BOP, Updates to BOP COVID-19 Action Plan: Inmate Movement (Mar. 19,

   2020), available at https://www.bop.gov/resources/news/20200319_covid19_update.jsp.

           Indeed, BOP has had a Pandemic Influenza Plan in place since 2012. BOP Health

   Services Division, Pandemic Influenza Plan-Module 1: Surveillance and Infection Control (Oct.

   2012), available at https://www.bop.gov/resources/pdfs/pan_flu_module_1.pdf. That protocol is

   lengthy and detailed, establishing a six-phase framework requiring BOP facilities to begin

   preparations when there is first a “[s]uspected human outbreak overseas.” Id. at i. The plan

   addresses social distancing, hygienic and cleaning protocols, and the quarantining and treatment

   of symptomatic inmates.
           Consistent with that plan, BOP began planning for potential coronavirus transmissions in

   January. At that time, the agency established a working group to develop policies in consultation

   with subject matter experts in the Centers for Disease Control, including by reviewing guidance

   from the World Health Organization.

           On March 13, 2020, BOP began to modify its operations, in accordance with its

   Coronavirus (COVID-19) Action Plan (“Action Plan”), to minimize the risk of COVID-19

   transmission into and inside its facilities. Since that time, as events require, BOP has repeatedly

   revised the Action Plan to address the crisis.

           Beginning April 1, 2020, BOP implemented Phase Five of the Action Plan. Those

   modified operations plan required that all inmates in every BOP institution be secured in their

   assigned cells/quarters for a period of at least 14 days, in order to stop any spread of the disease.

   Only limited group gathering is afforded, with attention to social distancing to the extent

   possible, to facilitate commissary, laundry, showers, telephone, and computer access. Further,

   BOP has severely limited the movement of inmates and detainees among its facilities. Though

   there will be exceptions for medical treatment and similar exigencies, this step as well will limit

   transmissions of the disease. Likewise, all official staff travel has been cancelled, as has most

   staff training.


   Gov’t Resp. to Def. Mot. to Reduce Sentence                                                             5
Case 1:93-cr-00401-DLG Document 305 Entered on FLSD Docket 09/09/2020 Page 6 of 16




          All staff and inmates have been and will continue to be issued face masks and strongly

   encouraged to wear an appropriate face covering when in public areas when social distancing

   cannot be achieved.

          Every newly admitted inmate is screened for COVID-19 exposure risk factors and

   symptoms. Asymptomatic inmates with risk of exposure are placed in quarantine for a minimum

   of 14 days or until cleared by medical staff. Symptomatic inmates are placed in isolation until

   they test negative for COVID-19 or are cleared by medical staff as meeting CDC criteria for

   release from isolation. In addition, in areas with sustained community transmission, such as
   Philadelphia, all facility staff are screened for symptoms. Staff registering a temperature of

   100.4 degrees Fahrenheit or higher are barred from the facility on that basis alone. A staff

   member with a stuffy or runny nose can be placed on leave by a medical officer.

          Contractor access to BOP facilities is restricted to only those performing essential

   services (e.g. medical or mental health care, religious, etc.) or those who perform necessary

   maintenance on essential systems. All volunteer visits are suspended absent authorization by the

   Deputy Director of BOP. Any contractor or volunteer who requires access will be screened for

   symptoms and risk factors.

          Social and legal visits were stopped as of March 13, 2020, and remain suspended until at

   least September 2020, to limit the number of people entering the facility and interacting with

   inmates. In order to ensure that familial relationships are maintained throughout this disruption,

   BOP has increased detainees’ telephone allowance to 500 minutes per month. Tours of facilities

   are also suspended. Legal visits will be permitted on a case-by-case basis after the attorney has

   been screened for infection in accordance with the screening protocols for prison staff.

          Beginning on August 5, 2020, the BOP implemented Phase Nine of the Action Plan. The

   current modified operations plan requires that all inmates in every BOP institution be secured in

   their facilities and placed additional safeguards on the facilities’ operations. Further details and

   updates of BOP’s modified operations are available to the public on the BOP website at a

   regularly updated resource page: www.bop.gov/coronavirus/index.jsp.


   Gov’t Resp. to Def. Mot. to Reduce Sentence                                                            6
Case 1:93-cr-00401-DLG Document 305 Entered on FLSD Docket 09/09/2020 Page 7 of 16




          In addition, in an effort to relieve the strain on BOP facilities and assist inmates who are

   most vulnerable to the disease and pose the least threat to the community, BOP is exercising

   greater authority to designate inmates for home confinement. On March 26, 2020, the Attorney

   General directed the Director of the Bureau of Prisons, upon considering the totality of the

   circumstances concerning each inmate, to prioritize the use of statutory authority to place

   prisoners in home confinement. That authority includes the ability to move to home confinement

   those elderly and terminally ill inmates specified in 34 U.S.C. § 60541(g). Congress has also

   acted to enhance BOP’s flexibility to respond to the pandemic. Under the Coronavirus Aid,
   Relief, and Economic Security Act, enacted on March 27, 2020, BOP may “lengthen the

   maximum amount of time for which the Director is authorized to place a prisoner in home

   confinement” if the Attorney General finds that emergency conditions will materially affect the

   functioning of BOP. Pub. L. No. 116-136, § 12003(b)(2), 134 Stat. 281, 516 (to be codified at 18

   U.S.C. § 3621 note). On April 3, 2020, the Attorney General gave the Director of BOP the

   authority to exercise this discretion, beginning at the facilities that thus far have seen the greatest

   incidence of coronavirus transmission, and this discretionary authority was further broadened

   with additional guidance on April 22, 2020.

          Taken together, all of these measures are designed to mitigate sharply the risks of

   COVID-19 transmission in a BOP institution. BOP has pledged to continue monitoring the

   pandemic and to adjust its practices as necessary to maintain the safety of prison staff and

   inmates while also fulfilling its mandate of incarcerating all persons sentenced or detained based

   on judicial orders.

          Unfortunately and inevitably, some inmates have become ill, and more likely will in the

   weeks ahead. But BOP must consider its concern for the health of its inmates and staff alongside

   other critical considerations. For example, notwithstanding the current pandemic crisis, BOP

   must carry out its charge to incarcerate sentenced criminals to protect the public. It must

   consider the effect of a mass release on the safety and health of both the inmate population and

   the citizenry. It must marshal its resources to care for inmates in the most efficient and beneficial


   Gov’t Resp. to Def. Mot. to Reduce Sentence                                                           7
Case 1:93-cr-00401-DLG Document 305 Entered on FLSD Docket 09/09/2020 Page 8 of 16




   manner possible. It must assess release plans, which are essential to ensure that a defendant has

   a safe place to live and access to health care in these difficult times. And it must consider myriad

   other factors, including the availability of both transportation for inmates (at a time that interstate

   transportation services often used by released inmates are providing reduced service), and

   supervision of inmates once released (at a time that the Probation Office has necessarily cut back

   on home visits and supervision).

   II.    Defendant’s Administrative Requests for a Sentence Reduction
          The Defendant sought release administratively from the BOP, and with specific reference
   to COVID-19, on August 12, 2020 [DE 302-2]. In his request, the Defendant wrote, “I

   committed a harmless crime 28 years ago[,] which I regret.” (DE 302-2 at 2). BOP denied the

   release application, acknowledging the Defendant’s concerns but finding that they did not

   warrant release [DE 302-2 at 1]. In essence, BOP determined that, while the Defendant did

   present with medical issues, BOP was capable of handling those issues.

          Thereafter, the Defendant filed the instant motion with this Court seeking compassionate

   release under 18 U.S.C. § 3582(c)(1)(A) on the ground that his health status makes him

   particularly vulnerable to becoming seriously ill from COVID-19 and that he is more likely to

   contract COVID-19 in prison than outside of prison.

                                            Legal Framework
          Under 18 U.S.C. § 3582(c)(1)(A), this Court may, in certain circumstances, grant a

   defendant’s motion to reduce his or her term of imprisonment. Before filing that motion,

   however, the defendant must first request that BOP file such a motion on his or her behalf.

   § 3582(c)(1)(A). A court may grant the defendant’s own motion for a reduction in his sentence

   only if the motion was filed “after the defendant has fully exhausted all administrative rights to

   appeal a failure of the Bureau of Prisons to bring a motion on the defendant’s behalf” or after 30

   days have passed “from the receipt of such a request by the warden of the defendant’s facility,

   whichever is earlier.” Id.




   Gov’t Resp. to Def. Mot. to Reduce Sentence                                                          8
Case 1:93-cr-00401-DLG Document 305 Entered on FLSD Docket 09/09/2020 Page 9 of 16




          If that exhaustion requirement is met, a court may reduce the defendant’s term of

   imprisonment “after considering the factors set forth in [18 U.S.C. § 3553(a)]” if the Court finds,

   as relevant here, that (i) “extraordinary and compelling reasons warrant such a reduction” and

   (ii) “such a reduction is consistent with applicable policy statements issued by the Sentencing

   Commission.” § 3582(c)(1)(A)(i). As the movant, the defendant bears the burden to establish

   that he or she is eligible for a sentence reduction. United States v. Jones, 836 F.3d 896, 899 (8th

   Cir. 2016); United States v. Green, 764 F.3d 1352, 1356 (11th Cir. 2014).

          The Sentencing Commission has issued a policy statement addressing reduction of
   sentences under § 3582(c)(1)(A). As relevant here, the policy statement provides that a court

   may reduce the term of imprisonment after considering the § 3553(a) factors if the Court finds

   that (i) “extraordinary and compelling reasons warrant the reduction;” (ii) “the defendant is not a

   danger to the safety of any other person or to the community, as provided in 18 U.S.C.

   § 3142(g);” and (iii) “the reduction is consistent with this policy statement.” USSG § 1B1.13. 2

          The policy statement includes an application note that specifies the types of medical

   conditions that qualify as “extraordinary and compelling reasons.” First, that standard is met if

   the defendant is “suffering from a terminal illness,” such as “metastatic solid-tumor cancer,

   amyotrophic lateral sclerosis (ALS), end-stage organ disease, [or] advanced dementia.” USSG

   § 1B1.13, cmt. n.1(A)(i). Second, the standard is met if the defendant is:
                  (I) suffering from a serious physical or medical condition,
                  (II) suffering from a serious functional or cognitive impairment, or
                  (III) experiencing deteriorating physical or mental health because of the
                  aging process,


   2
     The policy statement refers only to motions filed by the BOP Director. That is because the
   policy statement was last amended on November 1, 2018, and until the enactment of the First
   Step Act on December 21, 2018, defendants were not entitled to file motions under § 3582(c).
   See First Step Act of 2018, Pub. L. No. 115-391, § 603(b), 132 Stat. 5194, 5239; cf. 18 U.S.C.
   § 3582(c) (2012). In light of the statutory command that any sentence reduction be “consistent
   with applicable policy statements issued by the Sentencing Commission,” § 3582(c)(1)(A)(ii),
   and the lack of any plausible reason to treat motions filed by defendants differently from motions
   filed by BOP, the policy statement applies to motions filed by defendants as well.


   Gov’t Resp. to Def. Mot. to Reduce Sentence                                                           9
Case 1:93-cr-00401-DLG Document 305 Entered on FLSD Docket 09/09/2020 Page 10 of 16



          that substantially diminishes the ability of the defendant to provide self-care
          within the environment of a correctional facility and from which he or she is not
          expected to recover.
   USSG § 1B1.13, cmt. n.1(A)(ii). The application note also sets out other conditions and

   characteristics that qualify as “extraordinary and compelling reasons” related to the defendant’s

   age and family circumstances. USSG § 1B1.13, cmt. n.1(B)-(C). Finally, the note recognizes the

   possibility that BOP could identify other grounds that amount to “extraordinary and compelling

   reasons.” USSG § 1B1.13, cmt. n.1(D).

                                               Arguments
          This Court should deny Defendant’s motion for a reduction because, while the
   government acknowledges the Defendant’s ailments place him into the high risk category if he

   contracted the virus, the Defendant has not established that “extraordinary and compelling

   reasons” support a sentence reduction.

   I.     This Court Should Deny The Motion Because Defendant Has Failed to Present
          “Extraordinary and Compelling Reasons” Warranting a Sentence Reduction.
          The Defendant has not identified “extraordinary and compelling reasons” for that

   reduction within the meaning of § 3582(c)(1)(A) and the Sentencing Commission’s policy

   statement, and the statutory sentencing factors of Section 3553 do not weigh in favor of his

   release.

          A.      Defendant Has Not Identified “Extraordinary and Compelling Reasons” for
                  a Sentence Reduction.
          Defendant’s request for a sentence reduction should be denied because he has not

   demonstrated “extraordinary and compelling reasons” warranting release. As explained above,

   under the relevant provision of § 3582(c), a court can grant a sentence reduction only if it

   determines that “extraordinary and compelling reasons” justify the reduction and that “such a

   reduction is consistent with applicable policy statements issued by the Sentencing Commission.”

   18 U.S.C. § 3582(c)(1)(A)(i). The Sentencing Commission’s policy statement defines

   “extraordinary and compelling reasons” to include, as relevant here, certain specified categories

   of medical conditions. USSG § 1B1.13, cmt. n.1(A).



   Gov’t Resp. to Def. Mot. to Reduce Sentence                                                     10
Case 1:93-cr-00401-DLG Document 305 Entered on FLSD Docket 09/09/2020 Page 11 of 16




             For that reason, to state a cognizable basis for a sentence reduction based on a medical

   condition, a defendant first must establish that his condition falls within one of the categories

   listed in the policy statement. Those categories include, as particularly relevant here, (i) any

   terminal illness, and (ii) any “serious physical or medical condition . . . that substantially

   diminishes the ability of the defendant to provide self-care within the environment of a

   correctional facility and from which he or she is not expected to recover.” USSG 1B1.13, cmt.

   n.1(A). If a defendant’s medical condition does not fall within one of the categories specified in

   the application note (and no other part of the application note applies), his or her motion must be
   denied.

             The mere existence of the COVID-19 pandemic, which poses a general threat to every

   non-immune person in the country, does not fall into either of those categories and therefore

   could not alone provide a basis for a sentence reduction. The categories encompass specific

   serious medical conditions afflicting an individual inmate, not generalized threats to the entire

   population. As the Third Circuit has held, “the mere existence of COVID-19 in society and the

   possibility that it may spread to a particular prison alone cannot independently justify

   compassionate release.” United States v. Raia, 2020 WL 1647922, at *2 (3d Cir. Apr. 2, 2020),

   as revised (Apr. 8, 2020); see also United States v. Eberhart, 2020 WL 1450745, at *2 (N.D. Cal.

   Mar. 25, 2020) (“a reduction of sentence due solely to concerns about the spread of COVID-19 is

   not consistent with the applicable policy statement of the Sentencing Commission as required by




   Gov’t Resp. to Def. Mot. to Reduce Sentence                                                          11
Case 1:93-cr-00401-DLG Document 305 Entered on FLSD Docket 09/09/2020 Page 12 of 16




   § 3582(c)(1)(A).”). 3 To classify COVID-19 as an extraordinary and compelling reason would not

   only be inconsistent with the text of the statute and the policy statement, but would be

   detrimental to BOP’s organized and comprehensive anti-COVID-19 regimens, could result in the

   scattershot treatment of inmates, and would undercut the strict criteria BOP employs to

   determine individual inmates’ eligibility for sentence reductions and home confinement.

   Section 3582(c)(1)(A) contemplates sentence reductions for specific individuals, not the

   widespread prophylactic release of inmates and the modification of lawfully imposed sentences

   to deal with a world-wide viral pandemic.

          That does not mean, however, that COVID-19 is irrelevant to a court’s analysis of a

   motion under § 3582(c)(1)(A). If an inmate has a chronic medical condition that has been

   identified by the CDC as elevating the inmate’s risk of becoming seriously ill from COVID-19, 4
   that condition may satisfy the standard of “extraordinary and compelling reasons.” Under these

   circumstances, a chronic condition (i.e., one “from which [the defendant] is not expected to

   recover”) reasonably may be found to be “serious” and to “substantially diminish[] the ability of

   the defendant to provide self-care within the environment of a correctional facility,” even if that

   condition would not have constituted an “extraordinary and compelling reason” absent the risk of

   COVID-19. USSG § 1B1.13, cmt. n.1(A)(ii)(I). Similarly, in light of COVID-19, a defendant


   3
      See also, e.g., United States v. Coles, 2020 WL 1899562 (E.D. Mich. Apr. 17, 2020) (denied
   for 28-year-old inmate at institution with outbreak); United States v. Okpala, 2020 WL 1864889
   (E.D.N.Y. Apr. 14, 2020); United States v. Weeks, 2020 WL 1862634 (S.D.N.Y. Apr. 14, 2020);
   United States v. Haney, 2020 WL 1821988 (S.D.N.Y. Apr. 13, 2020) (denied for 61-year-old with
   no other conditions); United States v. Pinto-Thomaz, 2020 WL 1845875 (S.D.N.Y. Apr. 13, 2020)
   (two insider trading defendants with less than a year to serve have no risk factors); United States
   v. Korn, 2020 WL 1808213, at *6 (W.D.N.Y. Apr. 9, 2020) (“in this Court’s view, the mere
   possibility of contracting a communicable disease such as COVID-19, without any showing that
   the Bureau of Prisons will not or cannot guard against or treat such a disease, does not constitute
   an extraordinary or compelling reason for a sentence reduction under the statutory scheme.”);
   United States v. Carver, 2020 WL 1892340 (E.D. Wash. Apr. 8, 2020).
   4
     See Centers for Disease Control, At Risk for Severe Illness, available at
   https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/groups-at-higher-risk.html
   (last modified Apr. 2, 2020).


   Gov’t Resp. to Def. Mot. to Reduce Sentence                                                       12
Case 1:93-cr-00401-DLG Document 305 Entered on FLSD Docket 09/09/2020 Page 13 of 16




   “experiencing deteriorating physical or mental health because of the aging process” may be

   found to have a substantially diminished ability to provide self-care within the environment of a

   correctional facility, even where the defendant’s age-related decline in health otherwise would

   not have qualified. USSG § 1B1.13, cmt. n.1(A)(ii)(III). But as part of its analysis of the totality

   of circumstances, the Court should consider whether the inmate is more likely to contract

   COVID-19 if he or she is released than if he or she remains incarcerated. That will typically

   depend on the inmate’s proposed release plans and whether a known outbreak has occurred at his

   or her institution.
           In this case, Defendant has asserted that he suffers from a variety of ailments and, while

   these maladies and his age do place him within the high risk categories identified by the CDC,

   there is no basis to disagree with the BOP assessment – and the Court’s assessment just three

   months ago – that the Defendant is presently in fair health for a person his age, he can care for

   himself and he can be cared for while in custody. Indeed, the Defendant’s own exhibits show

   that BOP is keeping the Defendant’s ailments under control (see 302-1 at 1: “He is doing well”;

   “He is at goal Continue his [medication]”; “BP remains in control Continue his present BP

   meds”; “He is at goal Continue his [medication]”; “Current – controlled with his [medication]

   every other day Continue his [medication]”; “He is doing well No chest pain”; “level was

   normal”; “Improved EF”). There has been no material change in the Defendant’s health

   condition since the Court concluded three months ago that he did not merit release under the

   “extraordinary and compelling” standard. The same conclusion should be reached now and the

   Defendant’s motion should be denied.

           Moreover, the Defendant’s sentence of life imprisonment always contemplated the

   possibility that the Defendant could perish in prison. This is not the case of someone serving a

   three-year sentence, for example, and suddenly – unexpectedly – finding themselves confronting

   a life-threatening illness due to incarceration. The Defendant’s possible demise in prison, while

   serving a life sentence, is neither unexpected nor unjust. The existence of one more way for the

   Defendant to perish in prison, specifically COVID-19 in addition to heart disease, cancer, stroke,


   Gov’t Resp. to Def. Mot. to Reduce Sentence                                                         13
Case 1:93-cr-00401-DLG Document 305 Entered on FLSD Docket 09/09/2020 Page 14 of 16




   aneurism and myriad other ailments that afflict an 80-year-old male, does not alter the

   appropriateness of the Defendant’s incarceration. In short, the Defendant’s situation does not

   present “extraordinary and compelling reasons” for release. Thus, the Defendant’s motion

   should not be granted.

          B.      The § 3553(a) Factors Weigh Against of His Release.
          Alternatively, Defendant’s request for a sentence reduction should be denied because he

   has failed to demonstrate that he otherwise merits release under the § 3553(a) factors.

          Under the applicable policy statement, this Court must deny a sentence reduction unless it
   determines the defendant “is not a danger to the safety of any other person or to the community.”

   USSG § 1B1.13(2). Additionally, this Court must consider the § 3553(a) factors, as

   “applicable,” as part of its analysis. See § 3582(c)(1)(A); United States v. Chambliss, 948 F.3d

   691, 694 (5th Cir. 2020).

          The Defendant was convicted of very serious crimes. His sentence was based on

   evidence from a trial, where he denied his guilt, coupled with a criminal history of multiple

   cocaine trafficking convictions. The seriousness of the Defendant’s crimes counsel against his

   release and he continues to deny their seriousness. In his BOP application, the Defendant calls

   the conduct that led to his trial conviction “a harmless crime” [DE 302-2 at 2]. The “regret” that

   he claims appears to be regret that his conviction has led to a lengthy sentence, not the crime

   itself which he calls “harmless.” Indeed, in his motion, he attempts to downplay the seriousness

   of his criminal history, portraying his sentence as the result of a mere marijuana conviction while

   ignoring that this offense was actually his fourth trafficking conviction and that the other

   convictions were for cocaine (Def. Mot. at 7).

          It is particularly notable that this sentiment continues now, even 28 years after his crime

   and even though the Defendant has addressed the Court through multiple motions, never

   expressing remorse for his crimes nor acknowledging their seriousness. Such sentiment is

   inconsistent with an individual who might arguably be a low risk for recidivism or not a danger

   to the community. If the best that can be argued is that the Defendant is lower risk or not a


   Gov’t Resp. to Def. Mot. to Reduce Sentence                                                        14
Case 1:93-cr-00401-DLG Document 305 Entered on FLSD Docket 09/09/2020 Page 15 of 16




   danger because he is older and has medical conditions, that too counsels against the Defendant’s

   release. History is unfortunately filled with examples of individuals who were able to participate

   in criminal activity despite being aged or somehow infirm. The Defendant’s motion on this

   ground should be denied.

          Finally, there is no guarantee that the Defendant will be safer outside of BOP custody

   than in his current facility, where according to the BOP website on September 9, 2020, no

   inmates are infected with COVID-19. Florida, the intended location of the Defendant’s

   residence if released, is hardly a model State with a low incidence of infection or one of the
   States where statistics show declining cases. Furthermore, the Defendant’s age and maladies

   guarantee that he will need to seek medical treatment outside his home. Thus, being removed

   from the BOP custody does not improve the Defendant’s ability to avoid or survive the virus. To

   that end, the Defendant has not provided a viable plan for his release.

          Accordingly, in light of Defendant’s record and the totality of relevant circumstances, this

   Court should deny the motion for a sentence reduction.

                                              Conclusion
          For these reasons, this Court should deny Defendant’s motion for a sentence reduction

   with prejudice on the merits.

                                                         Respectfully submitted,

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   Gov’t Resp. to Def. Mot. to Reduce Sentence                                                      15
Case 1:93-cr-00401-DLG Document 305 Entered on FLSD Docket 09/09/2020 Page 16 of 16




                                        Certificate of Service

          I certify that on September 9, 2020, I electronically filed this document with the Clerk of

   Court using the CM/ECF system and provided a copy to counsel of record via ECF.




                                                         /s/ Walter M. Norkin
                                                         Walter M. Norkin
                                                         Assistant United States Attorney




   Gov’t Resp. to Def. Mot. to Reduce Sentence                                                     16
